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                          U.S. Bankruptcy Court, Eastern District of Missouri, Southeastern Division



  In re: Briggs & Stratton Corporation, et. Al, Debtors          Chapter 11

                                                                 Case no. 20-43597-399




                                   RESPONSE TO OBJECTION
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 Counsel for the Plan Administrator repeatedly cites the word equity in its Objection to the relief sought.
 The Court is requested to deny the relief requested in the Objection.

 While a share of common stock is, admittedly, an equity interest; the word has a greater breadth of
 meaning directly relevant to the present dispute before the Bankruptcy Court.

 Merriam-Webster defines equity as:

         1. A. justice according to natural law or right specifically: freedom from bias or favoritism
         2. Common stock of a corporation
         3. A right, claim, or interest existing or valid in equity
         4. A body of legal doctrines and rules developed to enlarge, supplement, or override a narrow
            rigid system of law.

 Thus, this Opposition to Plan Administrator's Objection will repeatedly cite equity as the reason the
 Court should deny counsel's motion on behalf of the Administrator.

 At issue is not the common stock of a corporation but the Dividend Reinvestment Plan for Shareholders
 of Briggs & Stratton Corporation in which shares of stock were held in a Plan created, controlled, and
 encouraged by the Corporation. CUSIP#109043 10 9

         "The Plan Administrator, its nominee and the Corporation shall have no responsibility beyond

           The exercise of ORDINARY CARE (emphasis added) for any action taken or omitted pursuant
 to the Plan ... " See, Dividend Reinvestment Plan at 15 attached.



 The Corporation encouraged participation in the Plan and trumpeted benefits of the plan "every penny
 goes to work for you, buying full and fractional shares (computed up to three decimal places) of the
 Corporation common stock. You pay no brokerage fees or service charges". See, Dividend
 Reinvestment Plan at page 1. The Dividend Reinvestment Plan has remained silent to this date about
 anything relating to the reorganization, bankruptcy, or this case in the Bankruptcy Court. Briggs &
 Stratton and its successors have not exercised ordinary care with respect to DRIP participants but rather
 have exercised no care at all. The participants were left penniless without notice.

 The fundamental equity involved here relates to a dividend reinvestment plan controlled by Briggs &
 Stratton for the financial benefit of both the corporation and the participants. Under the reorganization
 plan the equity interests ofthe participants were cancelled and a single share of common stock was
 issued in favor of the Plan Administrator. See Plan at 4.30 et seq. Counsel even included a declaration
 from Alan Halperin as Plan Administrator that each "no liability claim" has been examined at that it is
 "rather an equity interest; and that such equity interest was cancelled under the Plan." See,
 declaration at pg.2.

 As we examine the equity interest at stake, the Court can and should be reminded.                  (1)
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         "Lawyers have their duties as citizens, but they also have special duties as lawyers. Their
 obligations go far deeper than earning a living as specialists in corporation or tax law. The have a
 continuing responsibility to uphold the fundamental principles of justice from which the law cannot
 depart."

                         Robert Kennedy

  I return to those fundamental principles and remind the Court the Dividend Reinvestment Plan ,
 controlled by Briggs & Stratton, knew of the plummeting share price, pending corporate reorganization,
 bankruptcy and the Plan Administrator's actions as his own declaration affirms he looked at the claims
 of shareholders. Yet, the DRIP remained silent.

 The relationship between a shareholder and a stockbroker is remote and mercantile. Counsel cites at
 page 6 that the use of brokerage statements as proof of a claim is evidence of an equity claim. The
 corporation encouraged this participant for years to participate and when the present events transpired
 the corporation while paying retention bonuses to corporate officers paid little attention to the
 thousands of participants in the Dividend Reinvestment Plan leaving them holding an empty plan which
 has still not written its members. Ordinary care was not exercised; rather,the members of the DRIP
 were abandoned.

 Some would argue the Bankruptcy Court is not one of equity. See, Marcia S. Krieger, "The Bankruptcy
 Court is a Court of Equity": What Does That Mean? 50 S.C.L. Rev 275 (1999). Contrary to the narrow
 definition of equity asserted by counsel for the Plan Administrator, equity demands relief for th.e
 participant common stockholders in the Briggs & Stratton Dividend Reinvestment Plan to override a
 narrow rigid system of law emphasized by counsel to the Plan Administrator.

 This is not a political or philosophical dispute but a challenge by the Plan Administrator to the valid
 claims of members of the Dividend Reinvestment Plan like myself who ask for fairness, due process, and
 a recognition of valid claims as debtors not as some some distant shareholder of a huge brokerage
 house. Instead, we placed our money with the corporation that manufactured quality motors for
 generations with the assurance of a concerned management who actively solicited our DRIP
 participation every quarter.

 It matters not if the Plan Administrator views this matter as secured, administrative, priority or
 unsecured the equity supports the legitimacy and supremacy of a claim from a participant in the
 Dividend Reinvestment Plan. By the preponderance of the evidence, participants like myself in the DRIP
 have rebutted the Objection in the name of true equity.

 The successors who are reaping the benefits of the capital influx from the DRIP cannot be allowed to
 hide under the engine of a high quality Briggs & Stratton lawn mower and cut the equity out of the
 Dividend Reinvestment Plan.

  Objection by the Plan is opposed.                                                                    (2)
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                                Dividend
                           Reinvestment Plan
                           for Shareholders of
                            Briggs & Stratton
                               Corporation



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                              Administered by:

                      Wells Fargo Shareowner Services
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                                    Have your Briggs & Stratton Corporation (the
                                   "Corporation") dividends automatically reinvested
                                   in additional common stock through the Dividend
                                   Reinvestment Plan (the "Plan"). Administered by
                                  Wells Fargo Shareowner Services, a division of
                                  Wells Fargo Bank, N.A. (the "Plan Administrator,")
                                  this service is an easy, practical way to build your
                                  common stockholdings.

                                  BENEFITS OF THE PLAN

                                      ♦ Your dividends are paid directly to your Plan
                                         account.
                                      ♦ You may view your account Information and
                                        perform certain transactions online.
                                      ♦ You may receive account information and
                                        perform certain transactions via telephone.
                                      ♦ Every penny goes to work for you, buying full
                                       and fractional shares (computed up to three
                                       decimal places) of the Corporation common
                                       stock. You pay no brokerage fees or service
                                       charges.
                                     ♦ You may send additional funds, If you wish
                                        (minimum of $25 and $5,000 maximum per
                                      . quarter) to buy more common stock.
                                    ♦ You may have fun'ds automatically withdrawn
                                       from your checking or savings account each
                                       month and invested in your Plan account.
                                    ♦ You may send your stock certificate(s) to the
                                      Plan Administrator for safekeeping, If you wish.
                                    ♦ The Plan Administrator keeps detailed records
                                     of your account and will mail you a statement
                                     after each transaction. This will be at least
                                     quarterly for the dividend purchases. The
                                     statements will reflect how much stock is
                                     bought and how many shares you own.
                                   • You may join or withdraw from the Plan at any
                                     time.
                              WHo IS ELIGIBLE
                               Any registered owner of the Corporation common
                              stock is eligible to participate in the Plan. However,
                              regulations in certain countries may limit or prohibit
                              participation in this type of Plan. Accordingly, persons
                              residing outside the United States who wish to
                             participate in the Plan should first determine whether
                             they are subject to any governmental regulation
                             prohibiting their participation.

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                                          shares held by the Plan Administrator for the'
                                          participant and will combine the resultant funds
                                          with the next regular dividend or optional cash
                                          investment for reinvestment at that time. If a
                                          participant desires to exercise such rights, the
                                          participant should request that full shares be
                                          issued in book-entry (DRS) or certificated.
                                       ♦ The Plan Administrator, its nominee and the
                                         Corporation shall have no responsibility beyond
                                         the exercise of ordinary care for any action
                                         taken or omitted pursuant to the Plan, nor
                                         shall they have any duties, responsibilities or
                                         liabilities except such as are expressly set forth
                                         herein.
                                       ♦ In administering the Plan, neither the
                                         Corporation, the Plan Administrator nor any
                                         Independent Agent selected by the Plan
                                         Administrator shall be liable for any good
                                         faith act or omission to act, including but not
                                         limited to any claim of liability (i) arising out of
                                         the failure to terminate a participant's account
                                         upon such participant's death prior to receipt
                                           a
                                         of notice in writing of such death, (ii) with
                                         respect to the prices or times at which shares
                                        are purchased or sold, or (iii) as to the value
                                        of the shares acquired for participants. Selling
                                        participants should be aware that the share
                                        price of the Corporation's common stock may
                             ••   i     fall or rise during the period between a request
                                        for sale, its receipt by the Plan Administrator,
                                        and the ultimate sale in the open market.
                                        Participants should evaluate these possibilities
                                        while deciding whether and when to sell any
                                        shares through the Plan. The price risk will be
                                        borne solely by the participant.
                                      ♦ The Plan Administrator is acting solely as
                                        agent of the Corporation and owes no duties,
                                        fiduciary or otherwise, to any other person
                                        by reason of this Plan, and no implied duties,
                                        fiduciary or otherwise, shall be read into this
                                        Plan. The Plan Administrator undertakes to
                                        perform such duties and only such duties as
                                        are expressly set forth herein, to be performed
                                        by it, and no implied covenants or obligations
                                        shall be read into this Plan against the Plan
                                        Administrator or the Corporation.
                                      ♦ In the absence of negligence or willful
                                        misconduct on its part, the Plan Administrator,

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